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ORIGINAL

UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF DELAWARE
x
In re: : Chapter 11
Premier International Holdings Inc., et al.,! : Case No. 09-12019 (CSS)
Debtors. : Jointly Administered

: Re: Docket No. 22

 

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SECOND INTERIM ORDER (1) AUTHORIZING THE USE OF

LENDERS’ CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION

PURSUANT TO 11 U.S.C. §§ 361 AND 363 AND (III) SCHEDULING
A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(b)

Upon the motion (the “Motion”), dated as of June 14, 2009, of the above-
captioned debtors and debtors in possession (each a “Debtor” and collectively, the “Debtors”),
(a) seeking this Court’s authorization, pursuant to Section 363(c) of Title 11, United States Code,
11 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy Code”), to use the Cash Collateral (as
defined below) and, pursuant to Sections 361 and 363 of the Bankruptcy Code, to provide

adequate protection to the Lenders (as defined below) with respect to any diminution in the value

 

The Debtors are the following thirty-seven entities (the last four digits of their respective taxpayer
identification numbers, if any, follow in parentheses): Astroworld GP LLC (0431), Astroworld LP (0445),
Astroworld LP LLC (0460), Fiesta Texas Inc. (2900), Funtime, Inc. (7495), Funtime Parks, Inc. (0042),
Great America LLC (7907), Great Escape Holding Inc. (2284), Great Escape Rides L.P. (9906), Great
Escape Theme Park L.P. (3322), Hurricane Harbor GP LLC (0376), Hurricane Harbor LP (0408),
Hurricane Harbor LP LLC (0417), KKI, LLC (2287), Magic Mountain LLC (8004), Park Management
Corp. (1641), PP Data Services Inc. (8826), Premier International Holdings Inc. (6510), Premier Parks of
Colorado Inc. (3464), Premier Parks Holdings Inc. (9961), Premier Waterworld Sacramento Inc. (8406),
Riverside Park Enterprises, Inc. (7486), SF HWP Management LLC (5651), SFJ Management Inc. (4280),
SFRCC Corp. (1638), Six Flags, Inc. (5059), Six Flags America LP (8165), Six Flags America Property
Corporation (5464), Six Flags Great Adventure LLC (8235), Six Flags Great Escape L.P. (8306), Six Flags
Operations Inc. (7714), Six Flags Services, Inc. (6089), Six Flags Services of Illinois, Inc. (2550), Six Flags
St. Louis LLC (8376), Six Flags Theme Parks Inc. (4873), South Street Holdings LLC (7486), Stuart
Amusement Company (2016). The mailing address of each of the Debtors solely for purposes of notices
and communications is 1540 Broadway, 15th Floor, New York, NY 10036 (Attn: James Coughlin).

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of the Lenders’ interests in the Prepetition Collateral (as defined below), including for the use of
the Cash Collateral, the use, sale, lease, depreciation, decline in market price or other diminution
in value of the Prepetition Collateral other than the Cash Collateral, or the imposition of the
automatic stay pursuant to Section 362(a) of the Bankruptcy Code; (b) seeking an interim
hearing (the “Interim Hearing”) on the Motion to consider entry of an interim order pursuant to
Bankruptcy Rule 4001(b) (the “Interim Order”) authorizing the Debtors to use the Lenders’ Cash
Collateral; and (c) requesting that a final hearing (the “Final Hearing”) be scheduled, and that
notice procedures in respect of the Final Hearing be established by this Court to consider entry of
a final order (the “Final Order’) authorizing on a final basis the Debtors’ use of the Cash
Collateral; and due and sufficient notice of the Motion and the Interim Hearing under the
circumstances having been given; and an initial hearing on the Motion having been held before
this Court on June 14, 2009 (the “Bridge Hearing’’); and a bridge order authorizing the Debtors’
use of the Cash Collateral through entry of an interim order having been entered by the Court on
June 15, 2009 [Docket No. 50]; and the Interim Hearing on the Motion having been held before
this Court on June 23, 2009; and the Court having considered the objection to the Interim Order
filed by Avenue Capital Management II L.P. (“Avenue”) on June 15, 2009; and the Interim
Order having been entered by the Court on July 2, 2009; and a second interim hearing (the
“Second Interim Hearing”) having been held before this Court on July 13, 2009 to consider entry
of a second interim order (this “Second Interim Order’) authorizing the Debtors’ use of the Cash
Collateral through entry of a Final Order; and upon the entire record made by the Debtors at the
Bridge Hearing, the Interim Hearing and the Second Interim Hearing, and this Court having

found good and sufficient cause appearing therefor,

IT IS HEREBY STIPULATED AND AGREED BY AND AMONG THE
DEBTORS, THE ADMINISTRATIVE AGENT AND THE LENDERS THAT:

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A. On June 13, 2009 (the “Petition Date”), the Debtors each filed a voluntary
petition for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy
Court for the District of Delaware (these “Chapter 11 Cases”). The Debtors are continuing to
operate their businesses and manage their properties as debtors-in-possession pursuant to
Sections 1107(a) and 1108 of the Bankruptcy Code. No request has been made for the
appointment of a trustee or examiner. An official committee of unsecured creditors (the
“Committee”) was appointed in these Chapter 11 Cases on June 26, 2009.

B. This Court has jurisdiction over these Chapter 11 Cases and the Motion
pursuant to 28 U.S.C. § 157(b) and 1334. Consideration of this Motion constitutes a core
proceeding as defined in 28 U.S.C. § 157(b)(2).

C. Pursuant to the Second Amended and Restated Credit Agreement dated as
of May 25, 2007 (as amended, supplemented or otherwise modified, the “Credit Agreement”),
among Debtors Six Flag, Inc. (“SFI”), Six Flags Operations Inc. (“SFO”) and Six Flags Theme
Parks Inc. (“SFTP”) as the primary borrower therein, certain of SFTP’s foreign subsidiaries party
thereto, the several lenders party thereto (including, in their capacity, as holders of the Swap
Obligations (as defined below), collectively, the “Lenders”), JPMorgan Chase Bank, N.A., as
administrative agent for the Lenders (in such capacity, the “Administrative Agent”), and Credit
Suisse Cayman Islands Branch and Lehman Commercial Paper Inc., as co-syndication agents,
the Lenders made in excess of $1.1 billion of loans and other financial accommodations to or for
the benefit of SFI, SFO, SFTP and the other Debtors. In connection with the Credit Agreement,

SFO, SFTP and certain of the other Debtors (collectively, the “Debtor Loan Parties”)” entered

 

“Debtor Loan Parties” include each of the Debtors other than SFI, Premier Waterworld Sacramento Inc.,
SF HWP and SFRCC Corp.

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into certain collateral and ancillary documentation, including, without limitations, certain interest
rate protection arrangements (together with the Credit Agreement, the “Loan Documents”). All
such loans, financial accommodations and other amounts owing by the Debtor Loan Parties in
connection with the Loan Documents, including the Debtor Loan Parties’ obligations in respect
of certain interest rate protection arrangements (the “Swap Obligations”) are hereinafter referred
to as the “Prepetition Obligations”.

D. Without prejudice to the rights of any other party (but subject to the
limitations thereon described below in decretal paragraph 15), the Debtors acknowledge and
agree that, as of the Petition Date, the Debtor Loan Parties were liable to the Lenders under the
Credit Agreement and the other Loan Documents (i) in the aggregate principal amount of
approximately $1.1 billion plus additional amounts in respect of accrued but unpaid interest, fees
and other charges, plus (ii) approximately $20 million in respect of the Swap Obligations, plus
(iii) approximately $30 million on account of the Debtor Loan Parties’ reimbursement
obligations with respect to letters of credit issued pursuant to the Credit Agreement which
remained outstanding as of the Petition Date.

E. Without prejudice to the rights of any other party (but subject to the
limitations thereon described below in decretal paragraph 15), the Debtors acknowledge and
agree that, pursuant to the Loan Documents, including without limitation, the Amended and
Restated Guarantee and Collateral Agreement, dated as of May 25, 2007, made by SFO and
SFTP and the other Debtor Loan Parties in favor of the Administrative Agent, for the ratable
benefit of the Lenders, the Prepetition Obligations are secured by perfected, valid and
enforceable first priority liens and security interests upon and in substantially all of the assets and

property of SFO, SFTP and the other Debtor Loan Parties, including without limitation,

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accounts, chattel paper, certain owned real property, deposit accounts, documents, equipment,
fixtures, general intangibles, instruments, intellectual property, inventory, investment property,
pledged capital stock and other pledged interests of certain subsidiaries, books and records
pertaining to the foregoing and the proceeds, supporting obligations and products thereof
(collectively the “Prepetition Collateral”), Without prejudice to the rights of any other party (but
subject to the limitations thereon described below in decretal paragraph 15), the Debtors
acknowledge and agree that (i) the Prepetition Obligations are not subject to defense,
counterclaim or offset of any kind, and (ii) the Administrative Agent’s liens and security
interests have been properly filed or recorded, as applicable, so as to be perfected in accordance
with applicable law. Without prejudice to the rights of any other party (but subject to the
limitations thereon described below in decretal paragraph 15), the Debtors acknowledge and
agree that certain cash of the Debtor Loan Parties, including cash on deposit in accounts
maintained with any Lender or Lender affiliate on the Petition Date, constitutes Prepetition
Collateral or the proceeds of the Prepetition Collateral and, therefore, is the cash collateral of the
Lenders within the meaning of Section 363(a) of the Bankruptcy Code (the “Cash Collateral”)’,
The Administrative Agent does not consent to the use by the Debtors of the Prepetition
Collateral, including the Cash Collateral, except on the terms of this Second Interim Order (or

other order that may be entered by the Bankruptcy Court with the Administrative Agent’s

 

* The Debtors, Administrative Agent, Committee and all other parties in interest expressly
reserve all of their respective rights, claims and defenses as to whether the Cash Collateral
includes any funds on deposit in accounts maintained at financial institutions other than any
Lender or any Lender affiliates as of the Petition Date and except to the extent of the
Replacement Lien granted to them hereunder as adequate protection for any diminution in value
of the Prepetition Collateral during these Chapter 11 Cases, whether the Administrative Agent’s
or the Lenders’ liens extend to cash which the Debtors may accumulate during these Chapter 11
Cases in excess of the amount on deposit in accounts maintained with the Lenders or Lender
affiliates as of the Petition Date.

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consent). In addition, the Lenders are entitled, pursuant to Sections 361 and 363(e) of the
Bankruptcy Code, to adequate protection of their interest in the Prepetition Collateral to the
extent of the diminution in value, including for the use of the Cash Collateral, the use, sale, lease,
depreciation, decline in market price or other diminution in value of the Prepetition Collateral
other than the Cash Collateral, and the imposition of the automatic stay.

Based upon the foregoing stipulations, and upon the record made before this
Court at the Bridge Hearing, the Interim Hearing and the Second Interim Hearing, and good and
sufficient cause appearing therefor;

THE COURT HEREBY FINDS that:

F, Good cause has been shown for the entry of this Second Interim Order.
The Debtors do not have sufficient available sources of working capital and financing to carry on
the operation of their businesses absent continued use of the Lenders’ Cash Collateral. Among
other things, entry of this Second Interim Order will minimize disruption of the Debtors’
businesses and operations and permit them to make payroll and other operating expenses,
maintain business relationships with their vendors and retain customer and vendor confidence by
demonstrating an ability to maintain normal operations. The use of the Cash Collateral is
therefore of the utmost significance and importance to the preservation and maintenance of the
going concern value of the Debtors and their estates, and will enhance the prospects for a
successful reorganization of the Debtors under Chapter 11 of the Bankruptcy Code.

G. The Administrative Agent and the Debtors have negotiated at arms’ length
and in good faith regarding the Debtors’ use of Cash Collateral to fund the administration of the
Debtors’ estates and continued operation of their businesses. The Administrative Agent and the

Lenders have agreed to permit the Debtors to use their Cash Collateral for the period through the

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Termination Date (as defined below), all subject to the terms and conditions set forth herein,
including the protection afforded a party acting in “good faith” pursuant to Section 363(m) of the
Bankruptcy Code, but use of Cash Collateral shall only be in accordance with the Debtors’
budget attached hereto as Exhibit 1 (as such budget may be supplemented or modified in
accordance with the terms hereof, the “Budget”), subject to permitted variances.

H. Notice of the Bridge Hearing, the Interim Hearing and the Second Interim
Hearing and the relief requested in the Motion has been provided by the Debtors to parties in
interest. Under the circumstances, notice of the Bridge Hearing, the Interim Hearing and the
Second Interim Hearing and the relief requested in the Motion is due and sufficient notice and
complies with Section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002, 4001(c), and
4001(d), and the Local Rules of the Bankruptcy Court for the District of Delaware.

I. Based on the record presented to the Court at the Bridge Hearing, the
Interim Hearing and the Second Interim Hearing (i) the terms of the Debtors’ use of the Lenders’
Cash Collateral appear to be fair and reasonable, and to reflect the Debtors’ and their respective
directors’ exercise of prudent business judgment consistent with their fiduciary duties; (ii)
pursuant to certain provisions of the Credit Agreement, the Lenders delegated their right to
consent to the use of the Prepetition Collateral, including the Cash Collateral, to the
Administrative Agent; and (iii) Avenue, solely in its capacity as a Lender, is entitled to payment
of attorneys’ fees in accordance with section 12.5 of the Credit Agreement; provided that, no
such attorneys’ fees shall be paid without further order of the Court.

Based upon the foregoing findings and conclusions, and upon the record made
before this Court at the Bridge Hearing, the Interim Hearing and the Second Interim Hearing and

good and sufficient cause appearing therefor;

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IT IS HEREBY ORDERED that:

1. The Motion is granted on an interim basis. Any objections to the relief
sought in the Motion that have not been previously resolved or withdrawn are hereby overruled
on their merits or, to the extent applicable, deferred until the hearing on the Final Order. This
Second Interim Order shall become effective immediately upon its entry.

2. The Debtors are hereby authorized to use the Cash Collateral during the
period from the Petition Date through and including the Termination Date for general corporate
purposes and costs and expenses related to these Chapter 11 Cases in accordance with the terms
and conditions of this Second Interim Order and the Budget; provided that (a) all uses of cash by
the Debtors for the costs and expenses of administering these Chapter 11 Cases shall be deemed
to be first from cash that is not Cash Collateral and thereafter from Cash Collateral and (b)
neither the Debtors nor any other party in interest shall be authorized to use the Cash Collateral
to prosecute the Avoidance Actions (as defined below) or any other claims or causes of action
against the Administrative Agent or any Lender); provided further, that the Committee may use
Cash Collateral to conduct an investigation subject to the limitations set forth in paragraph 6 and
the Committee may use cash in the Debtors’ estates which does not constitute Cash Collateral to
investigate or prosecute any Avoidance Action against the Administrative Agent or any Lender.
The Budget may be modified by the Debtors in writing only with the prior written consent of the
Administrative Agent, which consent shall not be unreasonably withheld; provided, however,
that no such agreed modification to the Budget shall become effective unless it is filed with the
Court and becomes effective in accordance with the negative notice procedures set forth in

paragraph 4(b)(11)(B)(2) below.

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3. At any time prior to the Termination Date (and subject to the terms of any
subsequent order of this Court regarding use of Cash Collateral) the Debtors shall only use the
Cash Collateral in accordance with the terms of this Second Interim Order and the Budget. The
Debtors shall maintain their pre-Petition Date cash management system to the extent authorized
by and subject to the terms of any order of this Court governing the Debtors’ cash management
system. This Second Interim Order does not address the disposition of any Prepetition Collateral
outside the ordinary course of business or the Debtors’ use of the Cash Collateral resulting
therefrom.

4. (a) As adequate protection for, and to the extent of, any diminution in the
value of the Lenders’ interest in the Prepetition Collateral resulting from (x) the use of the Cash
Collateral pursuant to Section 363(c) of the Bankruptcy Code, (y) the use, sale, lease,
depreciation, decline in market price or other diminution in value of the Prepetition Collateral
(other than the Cash Collateral) pursuant to Section 363(c) of the Bankruptcy Code and (z) the
imposition of the automatic stay pursuant to Section 362(a) of the Bankruptcy Code (the amount
of any such diminution being referred to hereinafter as the “Adequate Protection Obligations”):

(i) the Administrative Agent and the Lenders are hereby granted (effective as

of the Petition Date and without the necessity of the execution by the Debtors of

mortgages, security agreements, control agreements, pledge agreements,
financing statements or otherwise), valid and perfected, replacement security
interests in, and liens (the “Replacement Liens’) on all of the right, title and
interest of the Debtors in, to and under all present and after-acquired property of
the Debtors of any nature whatsoever including, without limitation, all cash
contained in any account of the Debtors, and the proceeds of all causes of action,

other than (a) (1) causes of action (and proceeds thereof) arising under Chapter 5

of the Bankruptcy Code against any person or entity or (2) any cause of action

against the Administrative Agent or the Lenders (in their respective capacities as
such) whether arising under Chapter 5 of the Bankruptcy Code or otherwise,

(collectively, the “Avoidance Actions”), (b) 35% of the outstanding shares of

foreign subsidiaries and (c) Permitted Liens (as defined below) (collectively, with

the proceeds and products of any and all of the foregoing, the “Postpetition
Collateral”). Subject to the Carveout and Permitted Liens, said Replacement

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Liens shall be (x) a first priority perfected lien upon all of the Postpetition
Collateral that is not otherwise encumbered by a validly perfected, enforceable,
non-avoidable security interest or lien on the Petition Date, (y) a first priority,
senior, priming and perfected lien upon (a) that portion of the Postpetition
Collateral that is comprised of the Prepetition Collateral and (b) Postpetition
Collateral subject to a lien that is junior to the liens securing the Prepetition
Obligations and (z) a second priority, junior perfected lien upon all Postpetition
Collateral (other than the portion described in the preceding clause (y)), which is
subject to a validly perfected and enforceable lien as of the Petition Date; and

(ii) the Debtors are authorized and directed to (a) immediately pay as adequate
protection an amount equal to all accrued and unpaid interest on the Prepetition
Obligations and letter of credit fees at the non-default contract rates provided for
in the Loan Documents, and all other accrued and unpaid fees and disbursements
owing to the Administrative Agent under the Loan Documents and incurred as of
July 1, 2009, (b) on the first business day of each month thereafter, pay as
adequate protection an amount equal to all accrued but unpaid interest on the
Prepetition Obligations at the non-default LIBOR-based rate as set forth in the
Credit Agreement, provided that, without prejudice to the rights of the Committee
to challenge whether default interest is properly payable, default interest shall
accrue on the outstanding Prepetition Obligations beginning July 1, 2009 and (c)
immediately pay letter of credit and agency, administrative and other fees as and
when due, all at the non-default contract rates provided for in the Loan
Documents.

The payments provided for in paragraph 4(a)(ii) and 4(c) are referred to herein as the “Adequate

Protection Payments.”

(b) As further adequate protection hereunder, the Debtors shall provide the

following reporting to the Administrative Agent and the financial advisors to the Committee (the

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(i)

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Reporting Requirements”):

the Debtors shall provide the Administrative Agent and the financial advisors to
the Committee with copies of all financial reports, information and other materials
required to be delivered to the Administrative Agent pursuant to the Loan
Documents and such other information and materials as may be, from time to
time, reasonably requested by the Administrative Agent and the financial advisors

to the Committee;

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(ii) | (A) no later than fifteen (15) days prior to the last day covered by the Budget, the
Debtors shall file with the Court and deliver to the Administrative Agent and the
financial advisors to the Committee a proposed budget covering a subsequently
agreed upon period; and (B) upon the failure of any party in interest to object in
writing to such budget (such written objection to be delivered to counsel to the
Debtors, the Administrative Agent and the Committee) within five (5) business
days of the filing of such proposed budget with the Court (provided that upon any
timely written objection, the Debtors, the Administrative Agent and the objecting
party shall have one business day to attempt to resolve such objection; and if such
objection cannot be resolved, a hearing on the objection shall be heard by the
Court on an expedited basis with no less than five (5) business days’ notice), such
proposed budget shall become the applicable “Budget” for the period through the
Termination Date covered thereby;

(iii) | commencing on the Wednesday immediately following the entry of the Second
Interim Order and on every Wednesday thereafter, 13-week rolling cash flow
projections in the same form as the Budget;

(iv) commencing on the Wednesday immediately following the entry of the Second
Interim Order and on every Wednesday thereafter, a weekly statement showing
(A) the ending cash balance on a consolidated basis for the prior week-ending
Sunday for the Debtors and each of the park owning or operating non-debtor
subsidiaries and affiliates (including Six Flags Over Georgia and Six Flags Over
Texas (the “Partnership Parks”)) and (B) the revenue for the prior week-ending

Sunday (1) on a per-park basis (including the Partnership Parks and the Debtors’

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international parks) and (2) for all Debtors and non-debtor subsidiaries and
affiliates on a consolidated basis;

(v) commencing on the Wednesday immediately following the entry of this Second
Interim Order, and within ten (10) days of the end of every fiscal month
thereafter, consolidated financial statements for the Debtors and non-debtor
subsidiaries (including the Partnership Parks) as of the end of the preceding
month and year-to-date period, including a statement showing line item variances
for such preceding month and year-to-date period as reflected in the Budget and
line item variances for such month and year-to-date period, and an explanation by
management of any material variances; and

(vi) commencing on the Wednesday immediately following the entry of this Second
Interim Order and within ten (10) days of the end of every fiscal month thereafter,
a monthly performance report in respect of each park detailing attendance and
revenue at such park for the previous month and year-to-date to the end of such
month, and a comparison to the comparable month and year-to-date period for the
prior year.

The Debtors shall permit representatives, agents and/ or employees of the Administrative Agent
or the Lenders and professionals of the Committee to have reasonable access to their premises
and non-privileged records during normal business hours (without unreasonable interference
with the proper operation of the Debtors’ businesses) and shall cooperate, consult with and
provide to such persons all such non-privileged information as they may reasonably request from
time to time. At its discretion, the Administrative Agent or the professionals of the Committee

may request, and the Debtors agree to provide, periodic telephonic updates to the Administrative

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Agent or the professionals of the Committee and the Lenders concerning the operations, business
affairs and financial condition of the Debtors.

(c) As additional adequate protection, the Debtors are authorized and directed, to
pay or reimburse all reasonable fees, costs and charges incurred by the Administrative Agent
under the Loan Documents (including, without limitation, the administration fees payable to the
Administrative Agent under the Credit Agreement and the reasonable fees and out-of-pocket
disbursements of The Blackstone Group (“Blackstone”) or any successor financial advisors and
Simpson Thacher & Bartlett LLP and Landis Rath & Cobb LLP or any successor outside counsel
advising the Administrative Agent), in each case, in connection with matters relating to the
Credit Agreement, the Prepetition Obligations, the monitoring of these Chapter 11 Cases or the
enforcement and protection of the rights and interests of the Administrative Agent and the
Lenders in these Chapter 11 Cases. None of the fees, costs and expenses payable pursuant to this
paragraph shall be subject to separate approval by this Court (but the Court shall resolve any
dispute as to the reasonableness of any such fees, costs and expenses), and no recipient of any
such payment shall be required to file any interim or final fee application with respect thereto.
Nothing contained herein shall be deemed to be a waiver by any party in interest of the right to
object to the reasonableness of any fees, costs and charges incurred by the Lenders or the
Administrative Agent. The Debtors shall pay the reasonable fees incurred by the Administrative
Agent in accordance with this paragraph 4(c) only if each applicable professional retained by the
Administrative Agent has provided copies of its invoices to the U.S. Trustee and counsel to the
Creditors’ Committee contemporaneously with the delivery of such invoices to the Debtors and
neither the U.S. Trustee nor counsel to the Committee has filed a written objection as to the

reasonableness of any such fee or expense within twenty (20) days after their receipt of such

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statements; provided, however, that the Committee reserves all rights to object to the
reasonableness under section 506(b) of the Bankruptcy Code of any success or transaction fee
payable to Blackstone under the terms of its engagement letter and nothing contained herein shall
be construed as a determination by the Court as to the reasonableness of any such success or
transaction fee. All invoices submitted by such professionals that are attorneys shall contain
reasonable detail as to the number of hours worked and applicable hourly rate, but may be
redacted to the extent necessary to delete any information subject to the attorney/client or other
privilege, any information constituting attorney work product or any other confidential
information and the provision of such invoices shall not constitute a waiver of the attorney/client
privilege or any benefits of the attorney/client work product doctrine. Any objection filed by the
United States Trustee or the Committee shall describe with particularity the items or categories
of fees and expenses which are subject to the objection and provide a specific basis for the
objection to each such item or category of fees or expenses. Notwithstanding the filing of any
such objections, the Debtor shall promptly pay all amounts which are not subject to any such
objection. Any hearing on such an objection shall be scheduled for the following omnibus
hearing date and the inquiry shall be limited to the reasonableness under section 506(b) of the
Bankruptcy Code of the particular items or categories of fees and expenses which are the subject
of such objection.

(d) Under the circumstances (and consistent with the rights of the Lenders under
section 506(b) of the Bankruptcy Code), and based upon the Administrative Agent’s consent, the
adequate protection provided herein is reasonable and sufficient to protect the interests of the
Lenders. Notwithstanding any other provision hereof, the grant of adequate protection to the

Administrative Agent and the Lenders pursuant hereto is (i) without prejudice to the rights of any

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party in interest (other than the Debtors) to assert that the Adequate Protection Payments
constitute repayments of principal on unpaid Prepetition Obligations because such Prepetition
Obligations are not oversecured and (ii) without prejudice to the right of the Administrative
Agent empeTapdens to seek modification of the grant of adequate protection provided hereby so
as to provide different or additional adequate protection and without prejudice to the right of the
Debtors or any other party in interest to contest any such modification.

5. As used in this Second Interim Order, the term “Carveout” means an
amount equal to (a) the unpaid fees of the clerk of the Bankruptcy Court and of the United States
Trustee pursuant to 28 U.S.C. § 1930(a) and (b) (the “Statutory Fees”), (b) the payment of
allowed professional fees and disbursements (the “Professional Fees and Disbursements”)
incurred following the occurrence of an Event of Default, by the professionals retained by the
Debtors or the Committee (other than the fees and expenses, if any, of any professionals
incurred, directly or indirectly, in respect of, arising from or relating to, the initiation or
prosecution (but not the investigation conducted prior to any such initiation or prosecution) of
any action for preferences, fraudulent conveyances, other avoidance power claims or any other
claims or causes of action against the Administrative Agent or the Lenders) not to exceed
$5,000,000 in the aggregate, plus unpaid Professional Fees and Disbursements previously
incurred prior to the occurrence of such Event of Default and (c) the costs and administrative
expenses (other than the fees and expenses, if any, incurred, directly or indirectly, in respect of,
arising from or relating to, the initiation or prosecution (but not the investigation conducted prior
to such initiation or prosecution) of any action for preferences, fraudulent conveyances, other
avoidance power claims or any other claims or causes of action against the Administrative Agent

or the Lenders) not to exceed $150,000 in the aggregate that are permitted to be incurred by any

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Chapter 7 trustee pursuant to an order of this Court following any conversion to Chapter 7 of
these Cases. So long as no Event of Default shall have occurred and be continuing, the Debtors
shall be permitted to use Cash Collateral or cash not constituting Cash Collateral to pay, without
reduction of the Carveout, (x) the Statutory Fees and (y) the Professional Fees and
Disbursements, as the same may be due and payable. Nothing herein shall be construed as a
waiver of the right of the Administrative Agent or any Lender or the Committee to object to the
allowance of any Professional Fees and Disbursements.

6. Notwithstanding the foregoing, in no event shall the Cash Collateral or the
Carveout be used for the payment or reimbursement of any fees, expenses, costs, or
disbursements of any of the professionals incurred in connection with the assertion or joinder in
any claim, counter-claim, action, proceeding, application, motion, objection, defense, or
contested matter, the purpose of which is to seek any order, judgment, determination, or similar
relief (a) challenging the Prepetition Obligations, invalidating, setting aside, avoiding, or
subordinating in whole or in part the Administrative Agent’s liens and security interests granted
pursuant to the Loan Documents or this Second Interim Order, or asserting any other claims or
causes of action against the Administrative Agent or the Lenders or (b) except as permitted under
paragraph 10 hereof, preventing, hindering or delaying the Administrative Agent’s enforcement
or realization upon any Prepetition Collateral or Postpetition Collateral in accordance with the
terms of this Second Interim Order, provided however that the Cash Collateral or the Carveout
may be used for the investigation in connection therewith, subject to a limitation of $150,000 and
the use of cash not constituting Cash Collateral for such purpose shall not be subject to such

limitation.

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7. Subject to the Carveout and that such 507(b) Claims (as defined below)
shall not extend to the proceeds of any Avoidance Actions, the Adequate Protection Obligations
shall constitute expenses of administration under Sections 503(b)(1), 507(a) and 507(b) of the
Bankruptcy Code (the “507(b) Claims’’) with priority in payment over any and all administrative
expenses now existing or after arising, of the kinds specified or ordered pursuant to any
provision of the Bankruptcy Code including, without limitation, Sections 105, 326, 328, 330, 331
and 726 of the Bankruptcy Code, and shall at all times be senior to the rights of the Debtors, and
any successor trustee or any creditor, in these Chapter 11 Cases or, to the extent permitted by
applicable law, any subsequent proceedings under the Bankruptcy Code. Subject to the
Carveout, no cost or expense now existing or after arising, of administration under Sections 105,
503(b) or 507(b) or otherwise, including those resulting from the conversion of these Chapter 11
Cases pursuant to Section 1112 of the Bankruptcy Code, shall be senior to, or pari passu with,
the 507(b) Claims of the Lenders arising out of the Adequate Protection Obligations and
provided further, however, that neither the Administrative Agent nor any Lender shall receive or
retain any payments, property or other amounts in respect to the 507(b) Claims or Adequate
Protection Obligations or the Replacement Liens in respect to any Avoidance Actions or the
proceeds thereof brought against the Administrative Agent, in its capacity as Administrative
Agent, or such Lender, in its capacity as a Lender.

8. Except as expressly set forth in this Second Interim Order (including, but
not limited to, such Replacement Liens not extending to Avoidance Actions or the proceeds
thereof), the Replacement Liens granted pursuant to this Second Interim Order shall not be (i)
subject to any lien that is avoided and preserved for the benefit of the Debtors’ estates under

Section 551 of the Bankruptcy Code or (ii) subordinated to or made pari passu with any other

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lien under Sections 363 and 364 of the Bankruptcy Code, other than any Permitted Lien. Subject
to the Carveout and any Permitted Lien, the Replacement Liens shall be prior and senior to all
liens and encumbrances of all other secured creditors in and to such Postpetition Collateral
granted, or arising, after the Petition Date (including, without limitation, liens and security
interests, if any, granted in favor of any federal, state, municipal or other governmental unit,
commission, board or court for any liability of the Debtors). The Replacement Liens granted
pursuant to this Second Interim Order shall constitute valid, enforceable and duly perfected
security interests and liens, and the Administrative Agent and the Lenders shall not be required
to file or serve financing statements, notices of lien or similar instruments which otherwise may
be required under federal or state law in any jurisdiction, or take any action, including taking
possession, to validate and perfect such security interests and liens; and the failure by the
Debtors to execute any documentation relating to the Replacement Liens shall in no way affect
the validity, enforceability, perfection or priority of such Replacement Liens. If, however, the
Administrative Agent, in its sole discretion, shall determine to file any such financing statements,
notices of lien or similar instruments, or to otherwise confirm perfection of such Replacement
Liens, the Debtors are directed to cooperate with and assist in such process, the stay imposed by
Section 362(a) of the Bankruptcy Code is hereby lifted to allow the filing and recording of a
certified copy of this Second Interim Order or any such financing statements, notices of lien or
similar instruments, and all such documents shall be deemed to have been filed or recorded at the
time of and on the date of this Second Interim Order.

9. The Administrative Agent’s consent to the use of Cash Collateral pursuant
to this Second Interim Order shall terminate (the date of any such termination, the “Termination

Date”) on the earliest to occur of (x) consummation of a plan of reorganization in these Chapter

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11 Cases, (y) Aserstt5,2009 if the Final Order has not been entered by the Court on or before

such date or such date as the Administrative Agent may agree or (z) five-business days

following written notice to the Debtors after the occurrence and continuance of any of the

following events (“Events of Default”) beyond any applicable grace period, unless the Court

enters an order permitting the Debtors’ continued use of Cash Collateral or otherwise

determining that the automatic stay shall continue in effect, in each case pursuant to paragraph

10 hereof:

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Failure of the Debtors to make a payment to the Administrative Agent or the
Lenders as and when required by this Second Interim Order or other failure to
comply in any material respect with the terms of this Second Interim Order and
such failure shall continue unremedied for more than two business days after
notice thereof;

(i) Failure of the Debtors to deliver (and file with the Court) a proposed budget at
least fifteen (15) days prior to the expiration of the then applicable Budget, or a
proposed budget shall not have been accepted by the Administrative Agent as the
applicable “Budget” for purposes hereof by the date that is at least five (5)
business days prior to the expiration of the then applicable Budget, (ii) failure of
the Court to approve (if required pursuant to paragraph 4(b)(ii)(B)(2) above) a
proposed budget by the expiration of the then applicable Budget or (iii) failure of
the Debtors to comply with the Reporting Requirements if not remedied within
five business days after notice thereof of any applicable deadline;

Failure of the Debtors to comply with any other covenant or agreement specified
in this Second Interim Order (other than those described in clauses (a) and (b)
above) and such failure shall continue unremedied for more than five business
days after notice thereof specifying such failure;

Any material representation or material warranty made by the Debtors in
connection with the Reporting Requirements shall prove to have been incorrect in
any material respect when made;

SFTP or any of SFTP’s Debtor subsidiaries makes a dividend, loan or other
transfer to SFO or SFI in excess of an amount necessary for SFI or SFO, as the
case may be, to pay (i) out-of-pocket legal fees and other administrative expenses
incurred in the ordinary course of business, (ii) income tax liabilities of SFI and
its subsidiaries and (iii) amounts necessary to pay ordinary course operating
expenses of the Partnership Parks, excluding any liquidity put obligations arising
in connection therewith;

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f. (i) Commencing with the week ending on the Sunday immediately following

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entry of this Second Interim Order, and as of each Sunday thereafter, the cash
balance for such week, as reflected in the reports delivered pursuant to paragraph
4(b)(iv) herein, is at least 80% of the cash balance amount projected on the line
item “Ending Cash Balance” of the Budget, (ii) commencing with the four-week
period ending July 19, 2009, and as of each Sunday thereafter, the actual revenue
based on the Debtors’ daily operating reports (“DOR Revenue”) for such four-
week period is at least 75% of the DOR Revenue amounts projected for such
period as set forth in the Budget, (iii) the consolidated revenue of the Debtors and
the non-debtor subsidiaries and affiliates for any month, as reflected in the reports
delivered pursuant to paragraph 4(b)(v) herein, is at least 75% of the projected
consolidated revenue for such month as set forth in the Budget, (iv) the SFI
EBITDA and SFO EBITDA for any month, as reflected in the reports delivered
pursuant to paragraph 4(b)(v) herein, is at least 80% of the projected SFI EBITDA
or SFO EBITDA, as the case may be, for such month as set forth in the Budget, or
(v) as of the end of June, and the end of each successive month thereafter, the
consolidated cash balance for the Debtors and non-debtor affiliates and
subsidiaries is less than the amount set forth on Schedule A for such month;

A “Termination Event” under the Plan Support Agreement (a/k/a the Lock Up
Agreement), dated as of June 13, 2009 and executed by the Debtors and certain of
the Lenders, shall have occurred and not been waived or cured pursuant to the
terms therein;

Any of these Chapter 11 Cases shall be dismissed or converted to a Chapter 7
Case; or a Chapter 11 Trustee with plenary powers, a responsible officer, or an
examiner with enlarged powers relating to the operation of the businesses of the
Debtors (powers beyond those set forth in Section 1106(a)(3) and (4) of the
Bankruptcy Code) shall be appointed in any of these Chapter 11 Cases; provided
that the appointment by the Court of a trustee or other fiduciary of any Debtor’s
estate for the limited purpose of investigating, commencing or prosecuting
Avoidance Actions on behalf of such Debtor’s estate shall not constitute a default
under this subparagraph;

The Bankruptcy Court shall enter an order granting relief from the automatic stay
to the holder or holders of any security interest to permit foreclosure (or the
granting of a deed in lieu of foreclosure or the like) on any material assets of the
Debtors;

An order shall be entered reversing, amending, supplementing, staying for a
period in excess of three (3) days, vacating or otherwise modifying this Second
Interim Order without the consent of the Administrative Agent;

The Debtors shall create, incur or suffer to exist any postpetition liens or security
interests other than (i) those in favor of the Administrative Agent, (ii) carriers’,
warehousemen’s, repairmen’s or other similar liens, (iii) pledges or deposits in
connection with workers’ compensation, unemployment insurance and other

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social security legislation, (iv) deposits to secure the payment of postpetition
utilities, the performance of bids, trade contracts (other than for borrowed
money), leases, statutory obligations, surety and appeal bonds, performance bonds
and other obligations of a like nature incurred in the ordinary course of business,
provided that the liens, pledges or deposits referred to in clauses (11), (iii) and (iv)
above shall not exceed $25 million at any one time, and (v) the liens or other
security interests granted on a cash collateral account and amounts on deposit
therein in connection with any letter of credit facility entered in to by the Debtors
after the Petition Date in an amount of up to $5 million and on terms and
conditions reasonably acceptable to the Administrative Agent (a “DIP L/C
Facility” and together with the liens in respect of the foregoing, the “Permitted
Liens”);

1. Acclaim arising from funded indebtedness shall be granted in any of these Chapter
11 Cases which is pari passu with or senior to the 507(b) Claims of the
Administrative Agent and the Lenders, except for claims of the type described in
the preceding paragraph (k) in the amount limited thereunder or arising under DIP
L/C Facility; and

m. Any judgment in excess of $25 million as to any postpetition obligation not
covered by insurance shall be rendered against the Debtors and the enforcement
thereof shall not be stayed; or there shall be rendered against the Debtors a non-
monetary judgment with respect to a postpetition event which causes or could
reasonably be expected to result in a material adverse change or have a material

adverse effect on the ability of the Debtors to perform their obligations under this
Second Interim Order.

The Debtors shall promptly provide notice to the Administrative Agent (with a copy to counsel
for the Committee and the United States Trustee) of the occurrence of any Event of Default.

10. — Following notice by the Administrative Agent of an Event of Default and
prior to a Termination Date, the Debtor or any other party of interest, including the Committee,
shall be entitled to seek an emergency hearing to be held within such five (5) day period
regarding, among other things, the continued use of Cash Collateral. Unless the Court enters an
order authorizing the Debtors to continue their use of Cash Collateral or otherwise determining

that the automatic stay shall continue in effect in respect to the Administrative Agent and

 

The DIP L/C Facility shall be in addition to approximately $30 million of letters of credit currently
outstanding which shall continue in full force and effect.

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Lenders at such hearing, the Termination Date shall occur. Upon the Termination Date, (i) the
Adequate Protection Obligations shall become immediately due and payable, (ii) the
Administrative Agent and each Lender may setoff amounts in any account of the Debtors
maintained with the Administrative Agent or each Lender, respectively and (iii) the
Administrative Agent and the Lenders may exercise the rights and remedies available under the
Loan Documents, this Second Interim Order or applicable law, including, without limitation,
foreclosing upon and selling all or a portion of the Prepetition Collateral or Postpetition
Collateral in order to collect the Adequate Protection Obligations. The automatic stay under
Section 362 of the Bankruptcy Code is hereby deemed modified and vacated to the extent
necessary to permit such actions following the Termination Date. The actions described in
clauses (ii) and (iii) above may be taken without further order of or application to the Court as
the Administrative Agent or the Lenders shall, in their discretion, elect. The Administrative
Agent and the Lenders shall be entitled to apply the payments or proceeds of the Prepetition
Collateral in accordance with the provisions of the Loan Documents, and in no event shall the
Administrative Agent or any of the Lenders be subject to the equitable doctrine of “marshaling”
or any other similar doctrine with respect to any of the Prepetition Collateral, Postpetition
Collateral or otherwise. Notwithstanding the occurrence of the Termination Date or anything
herein, all of the rights, remedies, benefits and protections provided to the Administrative Agent
and the Lenders under this Second Interim Order shall survive the Termination Date.

11. To the extent the Adequate Protection Obligations have not been paid in
full in cash, the provisions of this Second Interim Order and any actions taken pursuant hereto
shall survive entry of any order which may be entered (a) confirming any plan of reorganization

in these Chapter 11 Cases; (b) converting any of these Chapter 11 Cases to a Chapter 7 case; or

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(c) dismissing any of these Chapter 11 Cases. If an order dismissing these Chapter 11 Cases
under Section 1112 of the Bankruptcy Code or otherwise is at any time entered, such order shall
provide (in accordance with Sections 105 and 349 of the Bankruptcy Code) that (a) the
Replacement Liens granted pursuant to this Second Interim Order to the Administrative Agent
and the Lenders shall continue in full force and effect, shall remain binding on all parties in
interest notwithstanding such dismissal until the obligations secured thereby shall have been paid
and satisfied in full and (b) this Court shall retain jurisdiction, notwithstanding such dismissal,
for the limited purposes of enforcing such Replacement Liens.

12. Entry of this Second Interim Order shall be without prejudice to any and
all rights, remedies, claims and causes of action which the Administrative Agent or the Lenders
may have against the Debtors or third parties, and without prejudice to the right of the
Administrative Agent and the Lenders to seek relief from the automatic stay in effect pursuant to
Bankruptcy Code Section 362, or any other relief in these Chapter 11 Cases, and the right of the
Debtors or the Committee or any other party in interest to oppose any such relief. The provisions
of this Second Interim Order shall be binding upon and inure to the benefit of the Administrative
Agent, the Lenders, the Debtors, and their respective successors and assigns, including any
trustee or other fiduciary hereafter appointed in these Chapter 11 Cases as a legal representative
of the Debtors or the Debtors’ estates.

13. Pursuant to Sections 105, 361 and 363 of the Bankruptcy Code, the
Administrative Agent and the Lenders are hereby found to be entities that have acted in “good
faith” in connection with the negotiation and entry of this Second Interim Order, and each is

entitled to the protection provided to such entities under Section 363(m) of the Bankruptcy Code.

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14. Except for Permitted Liens, without the prior written consent of the
Administrative Agent, the Debtors shall be enjoined and prohibited from at any time during these
Chapter 11 Cases granting (or seeking authority from the Court to grant) liens in the Prepetition
Collateral, the Postpetition Collateral or any portion thereof to any other parties pursuant to
Section 364 of the Bankruptcy Code, which liens are senior or on a parity with the liens of the
Administrative Agent or the Lenders, unless the terms and conditions of any order granting such
liens expressly provide that any unpaid Adequate Protection Obligations are paid to the Lenders
concurrently with the entry of any such order.

15. Asaresult of the Debtors’ review of the Loan Documents and the facts
related thereto, the Debtors have made certain agreements and acknowledgments as set forth in
paragraphs D and E above and shall have no right to file a complaint pursuant to Bankruptcy
Rule 7001 or otherwise, or any other pleading asserting a claim or cause of action arising out of
or related to the Loan Documents or any transactions or course of conduct related thereto. The
acknowledgments and agreements contained in paragraphs D and E hereof shall be binding upon
the Debtors in all circumstances, and shall be binding upon all other parties in interest, including
without limitation, the Committee, unless (a) a party in interest (including the Committee) has
been granted standing to file and has properly filed an adversary proceeding or contested matter
(subject to the limitations set forth in paragraph 6 hereof) challenging the validity, enforceability
or priority of the Prepetition Obligations or the Administrative Agent’s liens on the Prepetition
Collateral in respect thereof, or otherwise asserting any claims or causes of action against the
Administrative Agent or the Lenders on behalf of the Debtors’ estates, no later than (i) the later
of (A) September 30, 2009 and (B) if a party in interest files a motion for standing to bring such

a claim prior to September 30, 2009, the date that is 30 days after the filing of the motion or (ii)

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such subsequent date as may be (A) agreed to by the Debtors, Committee and Administrative
Agent or (B) set by the Court for good cause shown upon application of the Committee,
following notice and a hearing and (b) this Court rules in favor of the plaintiff in any such timely
and properly filed adversary proceeding or contested matter. If no such adversary proceeding or
contested matter is commenced as of such date, then, without the requirement or need to file any
proof of claim with respect thereto, the Prepetition Obligations shall constitute allowed claims,
not subject to defense, counterclaim, offset of any kind, or subordination and otherwise
unavoidable, for all purposes in these Chapter 11 Cases or any subsequent Chapter 7 cases, the
Administrative Agent’s liens on the Prepetition Collateral shall be deemed legal, valid, binding,
perfected, not subject to defense, counterclaim, offset of any kind, subordination and otherwise
unavoidable, and the Administrative Agent, the Lenders, the Prepetition Obligations and the
Administrative Agent’s liens on the Prepetition Collateral shall not be subject to any other or
further challenge by any party in interest seeking to exercise the rights of the Debtors’ estates,
including without limitation, any successor thereto. If any such adversary proceeding or
contested matter is timely commenced as of such date, the acknowledgements and agreements
contained in paragraphs D and E shall nonetheless remain binding and preclusive (as provided in
this paragraph) except to the extent that such acknowledgements and agreements were expressly
challenged in such adversary proceeding or contested matter. To the extent that the Committee
specifically asserts a claim challenging the validity, enforceability or priority of the Prepetition
Obligations or the Administrative Agent’s liens on the Prepetition Collateral in respect thereof,
or otherwise against the Administrative Agent or the Lenders, no provisions of this Order or any
interim order previously entered regarding the use of Cash Collateral shall impair or otherwise

prejudice the ability of this Court to avoid the liens or claims constituting the debt which is the

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subject of such claims or to otherwise fashion an appropriate legal or equitable remedy to afford
appropriate and just relief under the circumstances.

16. | Nothing contained herein shall in any way limit the right of the Committee
to object to or otherwise address any issues raised by the Motion or with the proposed Final
Order at the Final Hearing.

17. The court retains jurisdiction with respect to all matters arising from or
related to the implementation of this Second Interim Order.

Dated: July]5 _, 2009

Wilmington, Delaware (! SL —

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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